             Case 1:19-cv-05672-VSB Document 48-3 Filed 04/18/20 Page 1 of 2
                                                          Friday, April 17, 2020 at 14:15:21 Eastern Daylight Time

Subject: Se#lement and Release Agreement - Michael Grecco Produc9ons, Inc. et al v. Guardian News and
         Media LLC et al 1:19-cv-05672-VSB
Date: Monday, March 9, 2020 at 4:17:06 PM Eastern Daylight Time
From: Stuart A. Weichsel
To:      David Korzenik
CC:      Zachary Press, Terence Keegan
BCC:     Stuart A. Weichsel, Torina Yamada

TEXT OF SETTLEMENT AGREEMENT.
Se#lement and Release Agreement (“Agreement’) between Plain9ﬀs and Defendants.

In exchange for the Defendant’s payment of $25,000, within 30 days of this Agreement, Plain9ﬀs generally
release agents of Defendants and their licensees, agents owners, subsidiaries, freelancers (plus others
reasonably to be included) from liability for all images owned or claimed to be owned by Plain9ﬀs used by
Defendants and or any Releasees un9l and including this day, February 13th, 2020.

Defendants shall remove any images owned by Plain9ﬀ and used by Defendant and / or Releasees before or
on this day within ﬁve days of wri#en no9ce by Plain9ﬀ without further liability.

Plain9ﬀ has no current intent to enforce claims against any unlicensed party that has been named or
iden9ﬁed in this ac9on.

Plain9ﬀ also releases all licensees of Defendant for all claims for which Defendant is released.

Se#lement includes all costs and a#orney fees. Discon9nuance with prejudice to be ﬁled promptly aher
payment.

“Reasonable reps and warran9es from Plain9ﬀ to ownership and non-transfer of claims” [not a sentence]

California release form to be included with Agreement along with release language for any other applicable
states.

W-9 must be provided before payment.

No admission of liability or wrongdoing, willfulness, recklessness, negligence, or other level of fault by
Defendant or Defendant Releasees.

New York Law and NY SDNY or State jurisdic9on, New York County.

The par9es intend to replace this Agreement with a further “full agreement.” The present terms are binding.
Any dispute over the meaning of its terms will be referred in the ﬁrst instance to Judge Magistrate Freeman
for resolu9on.

Agreement inures to beneﬁt of par9es their successors and assigns.

For Defendants

A#orney in Fact: David Korzenik


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Kerry Eus9ce for GNM (Guardian News Media)

For Plain9ﬀs

Stuart Weichsel, Counsel for Plain9ﬀs

Michael Grecco, for himself and as oﬃcer of Corporate Plain9ﬀ



STROPHEUS LAW LLC
Stuart A. Weichsel, Esq.
(PLEASE NOTE NEW ADDRESS)
60 E 42ND ST STE 4600
New York, NY 10165-0006
Direct +1(917) 688 2307
Cel       (917) 562 4697
Fax       (917) 534‑6306




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